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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
NEVA HERON,                                         :               CIVIL ACTION
                              Plaintiff,            :               NO. 15-5686
                                                    :
       v.                                           :
                                                    :
SKY NJ, LLC d/b/a SKY ZONE INDOOR                   :
TRAMPOLINE PARK, AND SKY ZONE                       :
FRANCHISE GROUP, LLC, SKY ZONE, LLC                 :
& ABC, INC. (1-5),                                  :
                        Defendants.                 :


                                            ORDER

       AND NOW, this 22nd day of February, 2016, upon consideration of Defendants’ motion
to compel arbitration and dismiss the complaint with prejudice, with an accompanying
memorandum of law, (Dkt No. 2), Plaintiff’s response and accompanying memorandum of law
in opposition to Defendants’ motion, (Dkt No. 3), and Defendants’ reply, (Dkt No. 6), it is
hereby ORDERED that said motion is GRANTED. Plaintiff’s Complaint is DISMISSED WITH
PREJUDICE and Plaintiff is COMPELLED to file a claim for Arbitration.


                                             BY THE COURT:



                                             /s/ C. Darnell Jones, II
                                             _____________________________

                                             C. Darnell Jones, II   J.
